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5
     Attorney for Defendant
6    MARTY MARCIANO BOONE
7
                                 IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   Case No. 2:16-cr-020 TLN
                                                  )
11                  Plaintiff,                    )   STIPULATION AND ORDER TO
                                                  )   CONTINUE STATUS CONFERENCE, AND TO
12          vs.                                   )   EXCLUDE TIME
                                                  )
13   MARTY MARCIANO BOONE and                     )   Date: October 6, 2016
     RONDA BOONE,                                 )   Time: 9:30 a.m.
14                                                )   Judge: Hon. Troy L. Nunley
                    Defendants.                   )
15                                                )
16           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
17   Attorney, through Assistant United States Attorney Jared Dolan, attorney for Plaintiff, Heather
18   Williams, Federal Defender, through Assistant Federal Defender Hannah R. Labaree, attorney
19   for Marty Marciano Boone, and Robert Wilson, attorney for Ronda Boone, that the status
20   conference scheduled for October 6, 2016 be vacated and be continued to December 1, 2016 at
21   9:30 a.m.
22           This continuance is necessary as the parties are at various stages in plea negotiations and
23   require additional time to review discovery, investigate the facts of this case, and hold
24   discussions with the government and their respective clients in furtherance of resolution. In
25   advising their clients about the evidence against them and possible defenses, counsel continues to
26   review the 19,000 pages of discovery produced by the government in this case. Additional time
27   is necessary for effective preparation to further review this material and to investigate the facts of
28   this case.

      Stipulation and Order to Continue Status         -1-
      Conference
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1            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
2    excluded of this order’s date through and including December 1, 2016; pursuant to 18 U.S.C.
3    §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
4    based upon defense preparation.
5    DATED: October 3, 2016                      Respectfully submitted,
6                                                HEATHER E. WILLIAMS
7                                                Federal Defender

8                                                /s/ Hannah R. Labaree
                                                 HANNAH R. LABAREE
9                                                Assistant Federal Defender
                                                 Attorney for MARTY MARCIANO BOONE
10
11   DATED: October 3, 2016                      /s/ Robert M. Wilson
                                                 ROBERT M. WILSON
12                                               Attorney for RONDA BOONE

13
     DATED: October 3, 2016                      PHILLIP A. TALBERT
14
                                                 Acting United States Attorney
15
                                                 /s/ Jared Dolan
16                                               JARED DOLAN
                                                 Assistant U.S. Attorney
17                                               Attorney for Plaintiff
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      Stipulation and Order to Continue Status      -2-
      Conference
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1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including
9    December 1, 2016, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the October 6, 2016 status conference shall be continued until December 1,
13   2016, at 9:30 a.m.
14   Dated: October 3, 2016
15
16                                                            Troy L. Nunley
                                                              United States District Judge
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      Stipulation and Order to Continue Status        -3-
      Conference
